

Fonville v Legends Hospitality, LLC (2021 NY Slip Op 03661)





Fonville v Legends Hospitality, LLC


2021 NY Slip Op 03661


Decided on June 10, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 10, 2021

Before: Manzanet-Daniels, J.P., Gische, Oing, Shulman, JJ. 


Index No. 27881/19E Appeal No. 14049 Case No. 2020-03260 

[*1]Shahade Fonville et al., Plaintiffs-Respondents,
vLegends Hospitality, LLC, Defendant-Appellant, Loving Hands Dog Care Foundation, Inc., Defendant.


Jackson Lewis P.C., New York (Daniel D. Schudroff of counsel), for appellant.
Aidala, Bertuna &amp; Kamins, P.C., New York (Lawrence Spasojevich of counsel), for respondents.



Order, Supreme Court, Bronx County (Llinet M. Rosado, J.), entered June 26, 2020, which denied Legends Hospitality, LLC's motion to dismiss the complaint as against it for failure to state a cause of action, unanimously affirmed, without costs.
Plaintiffs' allegations are sufficient at the pleading stage to support the Labor Law wage claims against Legends as an employer (see Matter of Zurita v New York State Dept. of Labor, 175 AD3d 1182 [1st Dept 2019]; Bonito v Avalon Partners, Inc., 106 AD3d 625 [1st Dept 2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 10, 2021








